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 5                                   UNITED STATES DISTRICT COURT

 6                                          DISTRICT OF NEVADA

 7                                                     ***
                                                       )
 8   UNITED STATES OF AMERICA,                         )
                                                       )
 9                      Plaintiff,                     )        3:09-CV-00314-LRH-WGC
                                                       )
10   v.                                                )
                                                       )        ORDER
11   THE STATE OF NEVADA, and THE                      )
     OFFICE OF THE STATE CONTROLLER,                   )
12                                                     )
                        Defendants.                    )
13                                                     )

14          Before the court are the United States’ Motion to Exclude Defendants’ Expert and Expert

15   Report (#128), and Defendant’s opposition (#135). The evidence in question is pertinent only to

16   relief. Given the court’s order bifurcating the trial, the motion is granted insofar as it seeks to

17   exclude such evidence during the jury phase on liability. Otherwise, the motion is denied without

18   prejudice to any objections that may be raised during the bench trial on relief.

19          IT IS THEREFORE ORDERED that the United States’ Motion to Exclude Defendants’

20   Expert and Expert Report (#128) is GRANTED in part and DENIED in part.

21          IT IS SO ORDERED.

22          DATED this 1st day of May, 2012.

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25                                                        LARRY R. HICKS
                                                          UNITED STATES DISTRICT JUDGE
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